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MJU/SEA F-4625

IN THE UNITED STATES DISTRICT COURT
FOR THE NOTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

HELEN HAYHURST, )
Plaintiff, )

VS. ) CourtNo.:  14CV 2196
)
303 TAXI, LLC and JAROSLAVAS BIELIAUSKAS, )
Individually and as an Agent of 303 TAXI, LLC, )
)
Defendants. )
NOTICE OF FILING

TO: Joel F, Handler Attorney At Law, One East Wacker Drive, Suite 510, Chicago, IL 60601

Please take notice that on December 11, 2014, at 9:30. a.m., Urgo & Nugent, Lid. filed
with the clerk of the United States District Court for the Northern District of Illinois Defendant
303 TAXI, LLC’s Motion for Summary Judgment with Statement of Undisputed Facts.

URGO & NUGENT, LTD. Attorney for Defendant
2N. LaSalle St., Suite 1800 Attorney No.: 47857
Chicago, Illinois 60602 Telephone: (312) 263-6635

CERTIFICATE OF SERVICE BY MAIL

The undersigned, being first duly sworn upon oath, deposes and states that she served a
copy of the foregoing document via mail to the above-named by enclosing copies and depositing
it in the United States mail chute located at 2 N. LaSalle Street, Chicago, IL 60602, on or before
5 p.m. on the 12 day of December, 2014.

 

Bianca Prado

{X} Under penalties as provided by law to ILL.REV.STAT.CHAP, 110-SEC 1-109, I certify that the
statements set forth herein are true and correct.
